
*892OPINION.
Love:
The only question for consideration and determination in this case is that of limitation for the years 1917 and 1918, as all other questions have been settled by stipulations.
For the year 1917 the return was filed March 30, 1918. The five-year period of limitation provided for in section 250 (d) of each of the Revenue Acts of 1918 and 1921, expired on March 30, 1923.
On February 13, 1923, petitioner executed a waiver as provided by statute extending the time within which the tax for 1917 might be assessed and/or collected, with no limitation as to time of duration of such waiver. It has been held that such an agreement of extension is valid and binding for a reasonable time. See Cunningham Sheep &amp; Land Co., 7 B. T. A. 652. Another waiver that included 1917 was executed on December 11, 1925, and was to expire December 31, 1926. If the waiver of February 13, 1923, was the only one executed, a question might arise as to the reasonableness of the time taken by the Commissioner to make the collection (an assessment having been made in April, 1923). However, another waiver dated December 11, 1925, was executed by petitioner, and although the five-year period of limitation had then expired, the Board has held that such a waiver is effectual and will authorize the assessment and/or collection of the tax. Joy Floral Co., 7 B. T. A. 800.
The return for 1918 was filed on June 19, 1919. The five-year statutory period of limitation expired on June 19, 1924. A waiver was executed for 1918 on June 22, 1925. This fixes the status of the collection of the deficiency for 1918 the same as for 1917, and it is also governed by the Joy Floral Co. case, supra.
The collection of the deficiencies for 1917 and 1918 is not barred by limitation.

The deficiencies are redetermined as follows: 1917, $5,463.83; 1918, $2,414.93; 1919, $226.88; 1920, $3ft86.50; 1921, $168.96. Order will he entered accordingly*

